Case 1:19-md-02875-RMB-SAK   Document 2647-1   Filed 02/16/24   Page 1 of 19
                             PageID: 96221



                UNITED STATES DISTRICT COURT
                   DISTRICT OF NEW JERSEY


IN RE VALSARTAN,
LOSARTAN, AND                                   MDL No. 2875
IRBESARTAN PRODUCTS
LIABILITY LITIGATION
                                        HON. ROBERT B. KUGLER
                                         CIVIL NO. 19-2875 (RBK)
THIS DOCUMENT RELATES TO
ALL CASES




         PLAINTIFFS’ BRIEF IN SUPPORT OF MOTION
     TO PRECLUDE IMPROPER DEPOSITION DESIGNATIONS
Case 1:19-md-02875-RMB-SAK                     Document 2647-1             Filed 02/16/24          Page 2 of 19
                                               PageID: 96222



                                       TABLE OF CONTENTS

PRELIMINARY STATEMENT .............................................................................1

LEGAL ARGUMENT .............................................................................................3

    I.       DEFENDANTS CANNOT DESIGNATE AFFIRMATIVE
             DEPOSITION TESTIMONY FOR AVAILABLE WITNESSES ..........3

    II.      DEFENDANTS’ COUNTER-DESIGNATIONS SHOULD NOT
             BE PRESENTED ON PLAINTIFFS’ CASE UNLESS
             NECESSARY FOR “COMPLETENESS” ..............................................10

CONCLUSION ........................................................................................................13




                                                          i
Case 1:19-md-02875-RMB-SAK                   Document 2647-1           Filed 02/16/24        Page 3 of 19
                                             PageID: 96223



                                  TABLE OF AUTHORITIES

Cases

In re Air Crash Disaster at Stapleton Int. Airport,
       720 F.Supp. 1493 (D. Colo. 1989) ......................................................... 4

Alves v. Rosenberg,
      400 N.J. Super. 553 (App. Div. 2008) .................................................... 11

Avis Rent-A-Car, Inc. v. Cooper,
      273 N.J. Super. 198 (App. Div. 1994) .................................................... 7

Daley v. Claire’s Stores, Inc.,
      2010 WL 134257 (App. Div. 2010) ....................................................... 7

Garcia-Martinez v. City and County of Denver,
     392 F.3d 1187 (10th Cir. 2004) .............................................................. 3,8

Hanson v. Parkside Surgery Ctr.,
     872 F.2d 745 (6th Cir. 1989) .................................................................. 9

Kirk v. Raymark Indust., Inc.,
      61 F.3d 147 (3rd Cir. 1995) .................................................................... 6

Lloyd v. Amer. Export Lines, Inc.,
      580 F.2d 1179 (3rd Cir. 1978) ................................................................ 6

Martin v. Prime Hospitality Corp.,
      345 N.J. Super. 278 (App. Div. 2001) .................................................... 11

Moksvold v. Meyers,
     130 N.J. Super. 481 (App. Div. 1974) .................................................... 11

Napier v. Bossard,
     102 F.2d 467 (2d Cir. 1939) ................................................................... 3

O’Banion v. Owens-Corning Fiberglas Corp.,
     968 F.2d 1011 (10th Cir. 1992) .............................................................. 9



                                                      ii
Case 1:19-md-02875-RMB-SAK                   Document 2647-1            Filed 02/16/24        Page 4 of 19
                                             PageID: 96224



Panasonic Industrial Co. v. Emerson Quite Kool Corp.,
     269 N.J. Super. 502 (App. Div. 1993) .................................................... 7

Perricone v. Kansas City Southern Ry. Co.,
      630 F.2d 317 (5th Cir. 1980) .................................................................. 6

Polys v. Trans-Colorado Airlines,
      941 F.2d 1404 (10th Cir. 1991) .............................................................. 9

Rios v. Crowe,
      2012 WL 2401652 (App. Div. 2012) ..................................................... 7

U.S. v. Bollin,
       264 F.3d 391 (4th Cir. 2001) .................................................................. 11

U.S. v. Ionia Management S.A.,
       499 F.Supp.2d 166 (D. Conn. 2007) ...................................................... 9

U.S. v. Johnson,
       467 F.2d 804 (1st Cir. 1972)................................................................... 7

U.S. v. Lanzon,
       639 F.3d 1293 (11th Cir. 2011) .............................................................. 12,13

U.S. v. Lentz,
       524 F.3d 501 (4th Cir. 2008) .................................................................. 12

U.S. v. Morsely,
       64 F.3d 907 (4th Cir. 1995) .................................................................... 6

U.S. v. Oudovenko,
       2001 WL 253027 (E.D.N.Y., Mar. 7, 2001) .......................................... 9

U.S. v. Ricks,
       882 F.2d 885, 893 (4th Cir. 1989), cert. denied, 493 U.S. 1047 (1990) 12

U.S. v. Sherman,
       293 Fed. Appx. 158 (3d Cir. Sept. 17, 2008) ......................................... 11




                                                      iii
Case 1:19-md-02875-RMB-SAK                   Document 2647-1            Filed 02/16/24        Page 5 of 19
                                             PageID: 96225



U.S. v. Shuck,
       835 F.2d 875 (4th Cir. 1987) .................................................................. 11

U.S. v. Simms,
       385 F.3d 1347 (11th Cir. 2004) .............................................................. 13

U.S. v. Sindona,
       636 F.2d 792 (2d Cir. 1980), cert. denied, 451 U.S. 912 (1981) ........... 6

U.S. v. Soures,
       736 F.2d 87 (3d Cir. 1984) ..................................................................... 11

In re Valsartan, Losartan, & Irbesartan Prods. Liab. Litig.,
       MDL No. 2875, 2021 WL 6010575 (D.N.J. Dec. 20, 2021) ................. 9

In re Vioxx Products Liability Litigation,
       438 F.Supp.2d 664 (E.D.La. 2006)......................................................... 3

Williams v. Hodes,
      363 N.J. Super. 600 (App. Div. 2003) .................................................... 8

Witter v. Leo,
      269 N.J. Super. 380 (App. Div.), certif. denied, 135 N.J. 469 (1994) ... 7

Rules, Statutes, & Regulations

Federal Rule of Civil Procedure 32 ................................................................. passim

Federal Rule of Evidence 106 .......................................................................... passim

Federal Rule of Evidence 804 ........................................................................... 5,6,7




                                                      iv
Case 1:19-md-02875-RMB-SAK          Document 2647-1       Filed 02/16/24    Page 6 of 19
                                    PageID: 96226



                          PRELIMINARY STATEMENT

      Plaintiffs move pursuant to F.R.C.P. 32(a)(1)-(4) and F.R.E. 804 to preclude

Defendants from affirmatively designating and submitting deposition testimony

taken during discovery of their employees, designated corporate representatives,

officers, expert witnesses, and former employees who they represent and have under

their control, all of whom are technically available to testify live at trial. This motion

is well-supported by the controlling Rules and case law, and will streamline and

promote efficiency both in pre-trial hearings to determine the permissible scope of

proposed designations, and at trial.

      Defendants have affirmatively designated deposition testimony of the

following current and former employees:

      ZHP:

          • Jucai Ge

      Teva:

          •   Stefan Karlsson
          •   Pan Lin
          •   Jens Nassall
          •   Raphael Nudelman
          •   Narendra Vadsola

      Torrent:

          • Dawn Chitty
          • Sushil Jaiswal
          • Reddy Neravetla


                                            1
Case 1:19-md-02875-RMB-SAK          Document 2647-1      Filed 02/16/24   Page 7 of 19
                                    PageID: 96227



          • Paras Sheth

(Exs. 1-3). 1 Each of these witnesses is clearly under the “control” of Defendants,

and by virtue of their positions and roles as officers, executives, corporate designees,

expert witnesses, and former employees under Defendants’ control, they will not

testify live at trial only in the event Defendants choose not to call them to testify

live. Therefore, Defendants should not be permitted to present the testimony of these

and similar witnesses via affirmative deposition designations.

      The only exception that allows Defendants to designate any of the testimony

of these witnesses is counter-designations to Plaintiff’s designations, but only for the

limited, narrowly construed purpose of completeness of the portions designated, so

the jury is not misled—this does not include testimony that is simply relevant to the

designated testimony—the focus is on what was designated by Plaintiffs and

whether additional testimony is necessary so the jury is not misled. This will prevent

Defendants from needlessly wasting the Court’s and the Parties’ time arguing

extensive, improper designations and counter-designations, and will prevent

Defendants from burdening and unduly prejudicing Plaintiffs’ case by interjecting

confusing, disconnected and non-responsive designations designed to obscure

important testimony at trial, especially during Plaintiffs’ case.



1
  Unless otherwise noted all exhibits are attached to Adam M. Slater’s certification
in support of this motion.

                                           2
Case 1:19-md-02875-RMB-SAK         Document 2647-1        Filed 02/16/24      Page 8 of 19
                                   PageID: 96228



                               LEGAL ARGUMENT

                                           I.

          DEFENDANTS CANNOT DESIGNATE AFFIRMATIVE
        DEPOSITION TESTIMONY FOR AVAILABLE WITNESSES

      There is a strong preference for live testimony in the federal courts. As

observed by the Hon. Eldon E. Fallon, U.S.D.J., the “truth seeking purpose of

litigation” is inhibited by deposition rather than live testimony:

             As an alternative to live trial testimony, the Court, the
             parties, and, most importantly, the jury is left with the
             deposition – a second best.

In re Vioxx Products Liability Litigation, 438 F.Supp.2d 664, 668 (E.D.La. 2006)

(citing Napier v. Bossard, 102 F.2d 467, 469 (2d Cir. 1939) (Learned Hand, J.)).

“The preference for a witness’s attendance at trial is axiomatic.” Garcia-Martinez

v. City and County of Denver, 392 F.3d 1187, 1191 (10th Cir. 2004).

      Based on these principles, Defendants should not be permitted to submit

hearsay testimony of witnesses they control, while shielding the witnesses from

cross-examination at trial. This would be no different from Plaintiff designating its

own deposition testimony to shield itself from cross-examination. This is antithetical

to the controlling Rules, and the search for the truth.

      Federal Rule of Civil Procedure 32(a)(1) provides in relevant part:

             At a hearing or trial, all or part of a deposition may be used
             against a party on these conditions:


                                           3
Case 1:19-md-02875-RMB-SAK          Document 2647-1      Filed 02/16/24       Page 9 of 19
                                    PageID: 96229



             (A) the party was present or represented at the taking of
             the deposition or had reasonable notice of it;

             (B) it is used to the extent it would be admissible under
             the Federal Rules of Evidence if the deponent were present
             and testifying;

F.R.C.P. 32(a)(1)(emphasis added). Therefore, the use of a deposition at trial is in

all instances subject to and must be consistent with the Federal Rules of Evidence.

See In re Air Crash Disaster at Stapleton Int. Airport, 720 F.Supp. 1493, 1502 (D.

Colo. 1989) (setting forth balancing test “to determine admissibility of deposition

testimony in lieu of testimony at trial.”).2

      Since Defendants have the ability to facilitate the live testimony of their

current employees, officers, designated corporate designees, expert witnesses, and

former employees under their control, they cannot affirmatively utilize the

deposition testimony of these witnesses. Federal Rule of Civil Procedure 32(a)(4)

describes the circumstances under which such deposition testimony may be offered:

             (4) Unavailable Witness.

             A party may use for any purpose the deposition of a
             witness, whether or not a party, if the court finds:

             (A) that the witness is dead;

             (B) that the witness is more than 100 miles from the place
             of hearing or trial or is outside the United States, unless it

2
 Plaintiffs are permitted to utilize the deposition testimony of defendants’ officers,
directors, and corporate designees pursuant to F.R.C.P. 32(a)(3), and defendants’
current and former employees, pursuant to F.R.C.P. 32(a)(4).

                                               4
Case 1:19-md-02875-RMB-SAK       Document 2647-1      Filed 02/16/24    Page 10 of 19
                                  PageID: 96230



            appears that the witness's absence was procured by the
            party offering the deposition;

            (C) that the witness cannot attend or testify because of age,
            illness, infirmity, or imprisonment;

            (D) that the party offering the deposition could not
            procure the witness's attendance by subpoena; or

            (E) on motion and notice, that exceptional circumstances
            make it desirable—in the interest of justice and with due
            regard to the importance of live testimony in open court—
            to permit the deposition to be used.

F.R.C.P. 32(a)(4) (emphasis added). A witness is “unavailable” pursuant to F.R.E.

804(a) where the declarant:

            (1) is exempted from testifying about the subject matter of
            the declarant's statement because the court rules that a
            privilege applies;

            (2) refuses to testify about the subject matter despite a
            court order to do so;

            (3) testifies to not remembering the subject matter;

            (4) cannot be present or testify at the trial or hearing
            because of death or a then-existing infirmity, physical
            illness, or mental illness; or

            (5) is absent from the trial or hearing and the statement's
            proponent has not been able, by process or other
            reasonable means, to procure:

                  (A) the declarant's attendance, in the case of a
                  hearsay exception under Rule 804(b)(1) or (6); or

                  (B) the declarant's attendance or testimony, in the
                  case of a hearsay exception under Rule 804(b)(2),

                                         5
Case 1:19-md-02875-RMB-SAK         Document 2647-1     Filed 02/16/24    Page 11 of 19
                                    PageID: 96231



                    (3), or (4).

             But this subdivision (a) does not apply if the
             statement's proponent procured or wrongfully caused
             the declarant's unavailability as a witness in order to
             prevent the declarant from attending or testifying.

F.R.E. 804(a) (emphasis added).

       These Rules require a good faith, reasonable effort on the part of the proponent

of such testimony from its own witnesses, to procure the witness for trial. See, e.g.,

Kirk v. Raymark Indust., Inc., 61 F.3d 147, 165 (3rd Cir. 1995) (noting proponent

has the burden of proving reasonable attempts were made to procure the testimony

of a purported unavailable witness); Lloyd v. Amer. Export Lines, Inc., 580 F.2d

1179, 1184 (3rd Cir. 1978) (same); U.S. v. Morsely, 64 F.3d 907, n.11 (4th Cir. 1995)

(acknowledging duty of proponent of recorded testimony to make good faith,

reasonable effort to procure the witness’s attendance at trial); Perricone v. Kansas

City Southern Ry. Co., 630 F.2d 317, 321 (5th Cir. 1980) (noting the rule requires

proponent to demonstrate he was unable to procure the witness by process or other

reasonable means); U.S. v. Sindona, 636 F.2d 792, 803-04 (2d Cir. 1980), cert.

denied, 451 U.S. 912, 101 S.Ct. 1984, 68 L.Ed.2d 302 (1981) (Rule 804 includes a

good faith obligation to produce witnesses). Since Defendants control these

witnesses, a good faith effort would certainly result in them appearing in Court to

testify.

       Federal courts have recognized the key consideration is the proponent’s

                                           6
Case 1:19-md-02875-RMB-SAK         Document 2647-1      Filed 02/16/24   Page 12 of 19
                                    PageID: 96232



efforts and ability to procure the witness for trial, rather than the geographical

location of the witness. See, e.g., U.S. v. Johnson, 467 F.2d 804, 809 (1st Cir. 1972)

(“A witness's availability is not to be decided on the basis of his physical presence

in the court room or his accessibility by writ of habeas corpus or by subpoena. We

hold rather that a witness's practical and legal availability is to be determined on the

basis of his disposition and relationship toward the parties.”) (citations omitted).

      New Jersey law is equally clear on this issue. Avis Rent-A-Car, Inc. v. Cooper,

273 N.J. Super. 198, 200 (App. Div. 1994) (holding a party may only play their own

witness’s deposition if the party can prove that “all reasonable means to procure

the declarant’s attendance at trial [have] be[en] exhausted.”). Accord Witter v.

Leo, 269 N.J. Super. 380, 391 (App. Div.), certif. denied, 135 N.J. 469 (1994) (“The

new Rule requires that the party offering the deposition first demonstrate that

there are no reasonable means to procure the declarant’s attendance at trial.”);

Rios v. Crowe, 2012 WL 2401652, at *2 (App. Div. 2012); Panasonic Industrial Co.

v. Emerson Quite Kool Corp., 269 N.J. Super. 502, 505 fn.1 (App. Div. 1993) (a

witness must be brought in live if, “the appearance of the witness can be obtained.”).

The law requires defendants to provide a documentary record or concrete evidence

of diligent efforts to urge each witness to appear at trial. See Daley v. Claire’s

Stores, Inc., 2010 WL 134257, at *1, 3 (App. Div. 2010) (company exhausted all

reasonable effort to produce former employee when “record” demonstrated


                                           7
Case 1:19-md-02875-RMB-SAK         Document 2647-1      Filed 02/16/24   Page 13 of 19
                                    PageID: 96233



numerous letters and phone calls to former employee’s last known address and it

was in the company’s litigation interest to produce the witness); Williams v. Hodes,

363 N.J. Super. 600, 605 (App. Div. 2003) (defense exhausted all reasonable effort

to produce witness where, on short notice, served notice in lieu of subpoena, faxed

notices, called by phone, and enlisted help of opposing counsel).

      Here, Defendants have designated trial testimony from current employees,

designated corporate representatives, and available former employees (who they

defended at their depositions) who are under Defendants’ control. This includes, for

example, Jucai Ge, who sat for two depositions in this case and recently provided

ZHP with a declaration in support of a motion to dismiss. (ECF 1160, 2021, 2459-

5). Defendants cannot reasonably suggest that Jucai Ge would not appear in Court

to testify live if asked/directed to do so. Since the controlling Rule recognizes the

need for “due regard to the importance of live testimony in open court” (F.R.C.P.

32(a)(4)(E)), Defendants must bring Jucai Ge and the others to testify live. 3

      Courts addressing this issue have found that even when witnesses were

located more than 100 miles outside the jurisdiction, such witnesses were not


3
  Indeed, such witnesses are the representatives of, and speak for the company.
Permitting them to testify for their employers by video-taped deposition rather than
attending the trial in person, would be equivalent to allowing a plaintiff to introduce
her deposition testimony at trial rather than appearing live. In Garcia-Martinez v.
City and County of Denver, 392 F.3d at 1191-1193, the Tenth Circuit rejected a
plaintiff’s effort to present his own deposition testimony in lieu of live testimony for
this reason.

                                           8
Case 1:19-md-02875-RMB-SAK        Document 2647-1      Filed 02/16/24   Page 14 of 19
                                   PageID: 96234



“unavailable” where they were employees, former employees, or expert consultants

of the party seeking introduction of the testimony. The Tenth Circuit has held:

             We agree with Trans-Colorado that the district court was
             not automatically required to admit the deposition
             testimonies under Federal Rule of Civil Procedure
             32(a)(3)(B) just because the witnesses were more than 100
             miles away as plaintiffs appear to argue.

Polys v. Trans-Colorado Airlines, 941 F.2d 1404, 1410 (10th Cir. 1991). See, e.g.,

U.S. v. Ionia Management S.A., 499 F.Supp.2d 166, 169 n.2 (D. Conn. 2007) (noting

that the fact that the witnesses were current and former employees of defendant

counseled against a finding of unavailability); U.S. v. Oudovenko, 2001 WL 253027

at *1-3 (E.D.N.Y., Mar. 7, 2001) (finding defendant’s foreign employees and former

employees were not “unavailable” in light of defendant’s influence over them and

where the witnesses had already met with defendant’s attorneys and provided

statements to them). Other courts have not permitted deposition testimony from

witnesses where the proponent of the testimony failed to demonstrate a reasonable

or diligent effort to secure the witness’s attendance at trial. See, e.g., O’Banion v.

Owens-Corning Fiberglas Corp., 968 F.2d 1011, 1014-15 (10th Cir. 1992); Hanson

v. Parkside Surgery Ctr., 872 F.2d 745, 750 (6th Cir. 1989).4


4
  This Court has also rejected ZHP’s assumed argument that their witnesses who
reside in China cannot leave China to be questioned, even if remotely, in the event
the Chinese government will not allow them a visa for purposes of testifying in this
litigation. In re Valsartan, Losartan, & Irbesartan Prods. Liab. Litig., MDL No.
2875, 2021 WL 6010575, at *18-19 (D.N.J. Dec. 20, 2021) (ECF 1825, p. 30)

                                          9
Case 1:19-md-02875-RMB-SAK          Document 2647-1    Filed 02/16/24   Page 15 of 19
                                     PageID: 96235



      Defendants are able to procure the attendance of the witnesses at issue. Absent

a showing that these witnesses are truly unavailable, rather than strategically

unavailable or unwilling to appear due to inconvenience, Defendants should be

required to produce these witnesses live at trial, rather than submitting their

deposition testimony to the jury.

                                          II.

             DEFENDANTS’ COUNTER-DESIGNATIONS
         SHOULD NOT BE PRESENTED ON PLAINTIFFS’ CASE
            UNLESS NECESSARY FOR “COMPLETENESS”

      Federal Rule of Civil Procedure 32(a)(6) provides: “If a party offers in

evidence only part of a deposition, an adverse party may require the offer or to

introduce other parts that in fairness should be considered with the part introduced,

and any party may itself introduce any other parts.” F.R.C.P. 32(a)(6). This rule is

recognized as incorporating F.R.E. 106, which provides “If a party introduces all or

part of a writing or recorded statement, an adverse party may require the

introduction, at that time, of any other part--or any other writing or recorded

statement--that in fairness ought to be considered at the same time.” F.R.E. 106



(stating: “In looking at the likely effect these PRC laws do and will have on the U.S.
market, I find this a most important consideration. Even though between a ‘legal
rock and hard place’, PRC defendants cannot enter the U.S. market expecting a
possible shield from unfavorable discovery by PRC blocking statutes. As one
judge's decision has implied, if you don't like the rules, then stop doing business
in the U.S.” (emphasis added)).

                                          10
Case 1:19-md-02875-RMB-SAK        Document 2647-1      Filed 02/16/24   Page 16 of 19
                                   PageID: 96236



(emphasis added). The purpose of the rule is to avoid “misleading impressions”

when testimony is taken out of context. F.R.E. 106, 1972 Adv. Comm. Notes.; see,

e.g., United States v. Sherman, 293 Fed. Appx. 158, 159 (3d Cir. Sept. 17, 2008)

(F.R.E. 106 “guards against the potential for evidence to be misleading when taken

out of context”); United States v. Soures, 736 F.2d 87, 91 (3d Cir. 1984) (affirming

trial court’s refusal to permit party to read additional testimony for completeness;

“[t]he Rule does not require introduction of portions of a statement that are neither

explanatory of nor relevant to the passages that have been admitted.”); see also Alves

v. Rosenberg, 400 N.J. Super. 553, 563-65 (App. Div. 2008); Martin v. Prime

Hospitality Corp., 345 N.J. Super. 278, 294 (App. Div. 2001); Moksvold v. Meyers,

130 N.J. Super. 481, 484 (App. Div. 1974).

      As stated by the Fourth Circuit:

             The purpose of the rule is ‘to prevent a party from
             misleading the jury by allowing into the record relevant
             portions of the excluded testimony which clarify or
             explain the part already received.’ United States v.
             Wilkerson, 84 F.3d 692, 696 (4th Cir.1996). The portions
             of the excluded testimony thus must be relevant to an issue
             in the case, and the court need only admit the portions that
             are necessary to clarify or explain the portion of the
             testimony already admitted. Id.

U.S. v. Bollin, 264 F.3d 391, 413, (4th Cir. 2001) (emphasis added). In U.S. v. Shuck,

835 F.2d 875 at *2-3 (4th Cir. 1987) (unpublished opinion), the government had

introduced select portions from a defendant’s prior testimony. In response, the



                                         11
Case 1:19-md-02875-RMB-SAK         Document 2647-1     Filed 02/16/24    Page 17 of 19
                                    PageID: 96237



defendant sought to introduce earlier portions of his testimony that were not within

the subject matter of the testimony offered by the government. The trial court

determined such testimony was unnecessary and would not allow the addition. See

id. at *2. The Fourth Circuit agreed, noting:

             Rule 106 has been interpreted to give the trial court
             discretion to determine what might be required to fairly
             explain an admitted portion of a transcript, to fairly place
             it in context, or to fairly prevent it from being misleading
             in some other regard. United States v. Dorrell, 758 F.2d
             427 (9th Cir.1985); United States v. Soures, 736 F.2d 87
             (3d Cir.1984), cert. denied, 105 S.Ct. 914 (1985); and
             United States v. Marin, 669 F.2d 73 (2d Cir.1982). The
             court can exclude portions of the statement that are neither
             explanatory, nor relevant. Dorrell, 758 F.2d at 434.

Id. at *3 (emphasis added). Indeed, courts have excluded testimony proffered under

the “completeness” rule where it did not clearly pertain to the limited portions sought

to be introduced by the other party. See U.S. v. Ricks, 882 F.2d 885, 893 (4th Cir.

1989) (noting that “the rule is intended only to ensure that any admitted portion of a

previous statement or writing is placed in its proper context. Accordingly, Rule 106

does not necessitate the introduction of those portions of Ward's cross-examination

testimony which do not explain or clearly pertain to the limited portions King sought

to introduce.”), cert. denied, 110 S.Ct. 846, 493 U.S. 1047, 107 L.Ed.2d 841 (1990);

see also U.S. v. Lentz, 524 F.3d 501, 526 (4th Cir. 2008) (noting that the rule does

not “require admission of self-serving, exculpatory statements made by a party

which are being sought for admission by that same party”); U.S. v. Lanzon, 639 F.3d

                                          12
Case 1:19-md-02875-RMB-SAK         Document 2647-1      Filed 02/16/24   Page 18 of 19
                                    PageID: 96238



1293, 1302 (11th Cir. 2011) (“It is consistently held that the rule permits introduction

only of additional material that is relevant and is necessary to qualify, explain, or

place into context the portion already introduced.”) (quoting U.S. v. Simms, 385 F.3d

1347, 1359 (11th Cir. 2004).

      In numerous instances, Defendants’ proposed counter-designations to

Plaintiffs’ deposition designations introduce new subject matter or fail to truly

provide absolutely necessary context to the testimony sought to be introduced by

Plaintiffs. Indeed, in many instances, Defendants seek to introduce information that

is unrelated to the testimony offered by Plaintiffs, or is related in general but is not

necessary to clarify designated testimony, which will only serve to confuse and

distract the jury. This is prejudicial to Plaintiffs in that it waters down and obscures

the testimony elicited and submitted by Plaintiffs. Defendants have the right and

ability to call these witnesses live at trial if they want to submit the testimony they

are precluded from designating since not truly needed for completeness.

                                   CONCLUSION

      For the foregoing reasons, Plaintiffs request entry of an order precluding the

Defendants from submitting affirmative deposition designations of available

witnesses, and limiting defendants’ counter-designations to testimony that is truly

necessary for the narrowly construed purpose of context and completeness.




                                          13
Case 1:19-md-02875-RMB-SAK       Document 2647-1   Filed 02/16/24   Page 19 of 19
                                  PageID: 96239



Dated: February 16, 2024                Respectfully submitted,

/s/ Ruben Honik                             /s/ Daniel Nigh
Ruben Honik                                 Daniel Nigh
HONIK LLC                                   Nigh Goldenberg Raso & Vaughn,
1515 Market Street, Suite 1100              PLLC
Philadelphia, PA 19102                      14 Ridge Square NW
Phone: (267) 435-1300                       Third Floor
ruben@honiklaw.com                          Washington, D.C. 20016
                                            Phone: (850) 600-8090
                                            dnigh@nighgoldenberg.com

/s/ Adam Slater                             /s/ Conlee S. Whiteley
Adam Slater                                 Conlee S. Whiteley
MAZIE, SLATER, KATZ &                       KANNER & WHITELEY, LLC
FREEMAN, LLC                                701 Camp Street
103 Eisenhower Pkwy, 2nd Flr.               New Orleans, LA 70130
Roseland, NJ 07068                          Phone: (504)-524-5777
Phone: (973) 228-9898                       c.whiteley@kanner-law.com
aslater@mazieslater.com

MDL Plaintiffs’ Co-Lead Counsel

/s/ Jorge Mestre                            /s/ Gregory P. Hansel
Jorge Mestre                                Gregory P. Hansel
RIVERO MESTRE LLP                           PRETI, FLAHERTY, BELIVEAU &
2525 Ponce de Leon Blvd., Suite 1000        PACHIOS, CHARTERED, LLP
Miami, FL 33134                             One City Center
Phone (305) 445-2500                        P.O. Box 9546
jmestre@riveromestre.com                    Portland, ME 04112
                                            Phone: (207) 791-3000
                                            ghansel@preti.com

Third-Party Payor Economic
Loss Co-Lead Class Counsel




                                       14
